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TERRA MARINE ATTORNEYS
ATTORNE.YS,’CERTIFIED ARBITMTORS

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95 tholown Read 25, Bnnd Etreet, 21lrl Flr.

SW fitner l_.agos, l*~ligeria Etoo|s]vn, l"~lcw 't’orlt 11251
wo_vi@terra.malinelaw.com U.S..-"t

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+234.'»"'1}2.9\‘.]'?. 151[]; +254.3{]3.6??.6595

 

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31 Maj,r 201 3
_]. I<l. Randle Professional Services,
X KPMG I-Iouse,

One King C)logunltutere Street,
Parlt View,
Ikoyi, Lagos.

Attention: Bashorun ].K. Randle, FCA; OFR

Dear Sir:

Re: Erin Petroleum Nig'etia Limited (Previously Known as Camac Petroleum I..imited)
Notice of Appointment of Receiver/Manager

la Rs: Ert`a Easrg}' Carpamrfav, at n!. (’Dsl¢!arr}, fears Na. 13-32136
Notice of Chapter 11 Banl<ruptcy [erer of Automatic litaj,7

la Rr: En"a listml'snvr I\Tgsrt'e I_.zsst?sd v. Crsdf.tar.r Larnt'sd fn N.§gerra
jeff Na. FHC/L/(NR)',/j/ZOFE

We are Solicitors to and write on behalf of Erin Petroleum Nigetia limited [“our Client”j.

Clur Client referred to us, your 22 lv[av 2013 letter [but served and received by our Client on 31 lv.[av 2013)
being of vour purported appointment as Receiver{lvllanager by Zenith Banlc Plc. We have our Client’s
instruction to respond as hereafter stated.

Instructivelv, on the 1=“ day of Ma}r, 2013, the l_lnited States Banl§ruptcj,f Court for the Southern Dist::ict of
Tesas,, Houston Division, in the case of En*`v Ea's:g}' Carparnnas, et atf (Ds.-:'atar_r). Cars Na. 13-.321'36' granted a
Chapter 11 ]Elanl-:ruptc§r Order of hutomatic Stav [“Order”) which among other things prohibited your
ap'i:)omtmentl

C»‘n the 24th daj.T of Maj,r, 2013, the Federal High Court domesticated [bjg the registration of] the Order.

On the 2911‘» day of Mav, 2013, Zenith Bank Plc (“Zenith”] received notice of the Clrder and the

Domestication of same. Rather than respect the Court Orders, Zenith chose to thwart same by purporting
to appoint vour firm bv 22 Ivlayr 2012

With respect to the ineffective attempt to evade the applicability of the Order and its domestication by
backdating your purported appointrnent, please be reminded that Section 396 of the Companies and hilied
Matters Act, 1990 mandates the immediate notification of your appointment (assuming but not conceding
its validity] before it can become effective

Talte notice that your purported appointment which clearly occurred after the hutomadc Stajir Order and
its domestication is invalid, null and void and mayr amount to the violation of the subsisting C*rders of the
Banltruptc}' Court and the Federal High Court.

 

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Je“-"lccordit'tgly, we have our Client’s instruction to advise von to cease and desist from further act of contempt
of the subsisting Court orders.

Our Client shall consider your letter of appointment dated Majr 22,r 2015 withdrawn but without prejudice
to any further steps including legal and other proceedings it may wish to take to hirther protect its interest

and assets in the circumstance

Enclosed please find again copies of the subsisting Court orders and we trust von will be dulj,t advised.

 

We remain,
ifch truly j,tottrs,r
Terra lvlatine Attornej,rs
Wuvi Ogunyinita
Encl.
cc:
1. Through: The R.egist_t:ar {’n-'.ifnain' rnr!a.rinvr)
The Honorable justice l-ladiza R. Shagari
F'ederal High Court,
Lagos.

K'ind.l§r bring to the attention of Her Ladyship.
Thank vou.

 

%. Through: Okin Adams l.LP (afiai»‘aai' sania.rars.r}

judge l'v[a_n.tin Isgur

The United States Bankruptcy Court

for the Southern Disn:ict of Teaas:l
l~louston Division.

Rr: Er.t`.v Eriergv Cnrporntiaa, sf. sn’. @rivsn'),
Ca.ts Na. 13-32`}'36

l'{in»:iljtr bring to the attention of
the United States Bankrupth ]udge.
Thank you

Wu}ri Ogun `

3+ Zenith Bank Plc
Plot 34, dH.jose rideogun Street,
1ii'ictoria Island
Lagos.

4r Eiin Petroleum Nigeria Ltd
Ca.t'nac House
Plot 1649, lZ:llosa Street,

"‘-.i'ictor.iatr Lagos.

 

